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                              United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


 JOHN DOE                                               §
                                                        §
 v.                                                     § Civil Action No. 4:19cv658
                                                        § Judge Mazzant
 WILLIAM MARSH RICE UNIVERSITY                          §
 d/b/a RICE UNIVERSITY,                                 §
 EMILY GARZA, as agent for Rice                         §
 University, and DONALD OSTDIEK,
                                                        §
 as agent for Rice University
                                                        §

                              ORDER GOVERNING PROCEEDINGS

        This Order shall govern proceedings in this case. The following deadlines are hereby set:

        1.       Rule 26(f) attorney conference on or before: January 30, 2020

        2.       Complete initial mandatory disclosure required by this Order: February 10, 2020

        3.       File joint report of attorney conference: February 13, 2020. This should follow
                 initial mandatory disclosures, so a realistic proposal regarding depositions and
                 other discovery can be included.

        4.       The case is SET for a Rule 16 management conference on Wednesday,
                 February 26, 2020, at 9:00 a.m. at the Paul Brown United States Courthouse, 101
                 E. Pecan Street, Sherman, Texas 75090. Lead counsel for each party, with authority
                 to bind their respective clients, and all unrepresented parties, shall be present.
                 Continuance of the management conference will not be allowed absent a showing
                 of good cause1.


                             RULE 26(F) ATTORNEY CONFERENCE


        Rule 26(f) requires attorneys of record and all unrepresented parties to confer and attempt
in good faith to agree on a proposed scheduling order (see Appendix 1) and to electronically file a
joint report outlining their proposals. The conference may be by telephone.


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           Before the case management conference, counsel and unrepresented parties should review the most recent
versions of the Federal Rules of Civil Procedure and the Local Rules for the Eastern District of Texas. The Local
Rules are available on the Eastern District of Texas website (www.txed.uscourts.gov).
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        Before commencing the Rule 26(f) conference, counsel must discuss settlement options
with their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
conference. Counsel should also inquire whether their clients are amenable to trial before a United
States magistrate judge. Parties willing to consent should file the appropriate form electronically
(see form on Eastern District of Texas website) as soon as possible, so that the case can be reset
for management conference before the magistrate judge to whom the case is assigned.

       The parties must include the following matters in the joint conference report:

       1.      A brief factual and legal synopsis of the case.

       2.      The jurisdictional basis for this suit.

       3.      A list of the correct names of the parties to this action and any anticipated additional
               or potential parties.

       4.      A list of any cases related to this case pending in any state or federal court,
               identifying the case numbers and courts along with an explanation of the status of
               those cases.

       5.      Confirm that initial mandatory disclosure required by Rule 26(a)(1) and this order
               has been completed.

       6.      Proposed scheduling order deadlines. Appendix 1 has the standard deadlines.
               Explain any deviations from standard schedule. Now is the time to inform the
               Court of any special complexities or need for more time before the trial setting.
               The standard schedule is planned so that there is time to rule on dispositive motions
               before parties begin final trial preparation.

       7.      Describe in accordance with Rule 26(f):

               (i)     The subjects on which discovery may be needed, when discovery should be
                       completed, and whether discovery should be conducted in phases or be
                       limited to or focused on particular issues.

               (ii)    Any issues relating to disclosure or discovery of electronically stored
                       information (“ESI”), including the form or forms in which it should be
                       produced (whether native or some other reasonably usable format) as well

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                   as any methodologies for identifying or culling the relevant and
                   discoverable ESI. Any disputes regarding ESI that counsel for the parties
                   are unable to resolve during conference must be identified in the report.

           (iii)   Any agreements or disputes relating to asserting claims of privilege or
                   preserving discoverable information, including electronically stored
                   information and any agreements reached under Federal Rule of
                   Evidence 502 (such as the potential need for a protective order and any
                   procedures to which the parties might agree for handling inadvertent
                   production of privileged information and other privilege waiver issues). A
                   party asserting that any information is confidential should immediately
                   apply to the Court for entry of a protective order.

           (iv)    Any changes that should be made in the limitations on discovery imposed
                   by the Rules, whether federal or local, and any other limitations that should
                   be imposed, as well as

           (v)     Whether any other orders should be entered by the Court pursuant to Federal
                   Rule of Civil Procedure 26(c) or 16(b), (c)

     8.    State the progress made toward settlement, and the present status of settlement
           negotiations, including whether a demand and offer has been made. If the parties
           have agreed upon a mediator, also state the name, address, and phone number of
           that mediator, and a proposed deadline for mediation. An early date is encouraged
           to reduce expenses. The Court will appoint a mediator if none is agreed upon.

     9.    The identity of persons expected to be deposed.

     10.   Estimated trial time and whether a jury demand has been timely made.

     11.   The names of the attorneys who will appear on behalf of the parties at the
           management conference (the appearing attorney must be an attorney of record and
           have full authority to bind the client).

     12.   Whether the parties jointly consent to trial before a magistrate judge.

     13.   Any other matters that counsel deem appropriate for inclusion in the joint
           conference report or that deserve the special attention of the Court at the
           management conference.

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                                          DISCOVERY

        Initial mandatory disclosure pursuant to Rule 26(a)(1) shall be completed not later than
10 days after the deadline for the Rule 26 attorney conference and shall include the following,
in addition to information required by Rule 26(a)(1):

       1.      The correct names of the parties to the action.

       2.      The name and, if known, address and telephone number of any potential parties to
               the action.

       3.      The name and, if known, the address and telephone number of persons having
               knowledge of facts relevant to the claim or defense of any party, a brief
               characterization of their connection to the case and a fair summary of the substance
               of the information known by such person. This may be combined with the list of
               persons required under Rule 26(a)(1)(A)(i) so two lists are not needed.

       4.      The authorizations described in Local Rule CV-34.

       5.      A copy of all documents, electronically stored information, witness statements, and
               tangible things in the possession, custody, or control of the disclosing party that are
               relevant to the claim or defense of any party. This may be combined with
               disclosures under Rule 26(a)(1)(A)(ii) so duplication is avoided. In cases involving
               a disproportionate burden of disclosure of a large number of documents on one
               party, the parties may agree on prior inspection to reduce the need for copy. Parties
               are encouraged to agree upon provision of information by electronic means.

       See Local Rule CV-26(d) for meaning of “relevant to the claim or defense of any party.”
A party that fails to timely disclose such information will not, unless such failure is harmless,
be permitted to use such evidence at trial, at a hearing, or in support of a motion. A party is
not excused from making its disclosures because it has not fully completed its investigation of the
case. Moreover, the proportionality standard set forth in Rule 26(b)(2)(C) should be applied in
each case when formulating a discovery control plan. To further the application of the
proportionality standard in discovery, requests for production of ESI and related responses should
be reasonably targeted, clear, and as specific as practicable.

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        Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2). See Fed. R.
Civ. P. 26(d)(2). However, these requests are not considered served until the Rule 26(f) conference
has occurred. All other discovery shall not commence until the Rule 26(f) conference. See Fed.
R. Civ. P. 26(d), 34. Depositions may be taken, and initial mandatory disclosure shall occur,
before the Rule 16 management conference, so that counsel are in a position to intelligently discuss
additional required discovery, and scheduling of the case.

       Following the management conference, the Court will enter a scheduling order setting
deadlines controlling disposition of the case. If the Court concludes that a management
conference is not necessary after receiving the parties’ 26(f) report, it may enter a scheduling
order and cancel the management conference.

         The fact that the scheduling order will have a deadline for completion of discovery is NOT
an invitation, or authorization, to withhold documents or information required to be disclosed as
part of initial mandatory disclosure, under the guise of “supplementation.” Attorneys are expected
to review their client’s files and to conduct at least preliminary interviews of their clients and
potential witnesses under their control, so as to fully comply with the initial mandatory disclosure
requirements by the deadline set in this order. This will allow experts to be timely identified and
prepared to testify, witnesses to be efficiently deposed, and any follow-up paper discovery to be
completed by the deadline to be set for completion of discovery. The Court expects that, in most
cases, after reading the pleadings and having a frank discussion of the issues and discovery during
the Rule 26 attorney conference, a review of the opposing party’s initial disclosures should alert
an attorney to any remaining information which should have been disclosed, so that such
information can be provided before the Rule 16 management conference.


                                   DISCOVERY DISPUTES

       A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline is an appropriate means to obtain an
immediate ruling on whether a discovery request is relevant to the claims or defenses and on
disputes which arise during depositions. The hotline number is (903) 590-1198. See Local Rule
CV-26(e).


                             CONTESTED MOTION PRACTICE



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       Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in addition to the
Federal Rules of Civil Procedure. Local Rule CV-7 requires you to attach affidavits and other
supporting documents to the motion or response. Labeled tabs on the attachments to the courtesy
copy will make it easier to find them.

       If a document filed electronically exceeds twenty (20) pages in length, including
attachments, a paper copy of the filed document must be sent contemporaneously to Judge
Mazzant's chambers in Sherman.

        Pursuant to Local Rule CV-7(b), highlight in the courtesy copy, the portions of the
affidavits or other supporting documents which are cited in your motion or response.

        Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply before
ruling on the motion.” Local Rule CV-7(f) (emphasis added).


                       SAFEGUARDING PERSONAL INFORMATION

        The Judicial Conference of the United States has implemented policies to protect sensitive
private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy
case. To that end, all documents filed with the Court and made available to the public, whether
electronically or on paper, should limit certain information as follows:

       •               for Social Security numbers, use only the last four digits;
       •               for financial account numbers, use only the last four digits;
       •               for names of minor children, use only their initials;
       •               for dates of birth, use only the year; and
       •               (in criminal cases) for home addresses, use only the city and state.

         If such information is elicited during testimony or other court proceedings, it will become
available to the public when the official transcript is filed at the courthouse unless, and until, it is
redacted. The better practice is for you to avoid introducing this information into the record in the
first place. Please take this into account when questioning witnesses or making other statements in
court.


                                      FAILURE TO SERVE


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            Any defendant who has not been served with the summons and complaint within 90 days
    after the filing of the complaint shall be dismissed, without further notice, unless prior to such
    time the party on whose behalf such service is required shows good cause why service has not
    been made. See Fed. R. Civ. P. 4(m).

                                         FICTITIOUS PARTIES

            The name of every party shall be set out in the complaint. See Fed. R. Civ. P. 10(a). The
    use of fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue Shield, 112 F.3d.
    869 (7th Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all fictitious
    parties. Dismissal is without prejudice to the right of any party to take advantage of the provisions
    of Fed. R. Civ. P. 15(c).

                                             SETTLEMENT

           Plaintiff’s counsel shall immediately notify the Court upon settlement.

                                             COMPLIANCE

            Attorneys and pro se litigants who appear in this court must comply with the deadlines set
    forth in the Federal Rules of Civil Procedure, the Local Rules for the Eastern District of Texas and
    this order. A party is not excused from the requirements of a Rule or scheduling order by
    virtue of the fact that dispositive motions are pending, the party has not completed its
.   investigation, the party challenges the sufficiency of the opposing party’s disclosure, or
    because another party has failed to comply with this order or the rules.

           Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
    Procedure, or this order may result in the exclusion of evidence at trial, the imposition of sanctions
    by the Court, or both. Counsel are reminded of Local Rule AT-3, particularly AT-3(I) & (J).
         SIGNED this 9th day of January, 2020.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE



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                                                      Appendix 1

                            PROPOSED SCHEDULING ORDER DEADLINES

         The following actions shall be completed by the date indicated.1 (The times indicated are
the standard for most cases. Counsel should be prepared to explain the need for requested changes)

____________________                          Deadline for motions to transfer
(1 week after mgmt conf.)

____________________                           Deadline to add parties
(6 weeks after mgmt conf.)

____________________                          Mediation must occur by this date.
six weeks prior to mediation ddl              Deadline by which the parties shall notify the Court of the
                                              name, address, and telephone number of the agreed-upon
                                              mediator, or request that the Court select a mediator, if they
                                              are unable to agree on one.

______________ ______                         Disclosure of expert testimony pursuant to Fed. R. Civ. P.
(10 weeks after mgmt. conf.)                  26(a)(2) and Local Rule CV-26(b) on issues for which the
                                              party bears the burden of proof.

_________________ ___                         Deadline for Plaintiff to file amended pleadings
(12 weeks after mgmt conf.)                   (A motion for leave to amend is required.)

______________ ______                         Disclosure of expert testimony pursuant to Fed. R. Civ. P.
(14 weeks after mgmt. conf.)                  26(a)(2) and Local Rule CV-26(b) on issues for which the
                                              party does not bear the burden of proof.

____________________                          Deadline for Defendant’s final amended pleadings
(14 weeks after mgmt conf.)                   (A motion for leave to amend is required.)

6 weeks after disclosure                      Deadline to object to any other party’s expert witnesses.
of an expert is made                          Objection shall be made as a motion to strike or limit
                                               expert testimony and shall be accompanied by a copy
                                               of the expert’s report in order to provide the court with
                                               all the information necessary to make a ruling on any
                                               objection


____________________                          Deadline for motions to dismiss, motions for summary
(14 weeks after mgmt conf.                    judgment, or other dispositive motions.
but no later than 110 days prior

1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.

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to deadline for submission of
Joint Final Pretrial Order)


_________________ ___                       All discovery shall be commenced in time to be completed
(24 weeks after mgmt conf.)                 by this date.


_____________________                 Notice of intent to offer certified records
(6 weeks before final pretrial conf.)


____________________                  Counsel and unrepresented parties are each responsible for
(6 weeks before final pretrial conf.) contacting opposing counsel and unrepresented parties to
                                      determine how they will prepare the Joint Final Pretrial
                                      Order and Joint Proposed Jury Instructions and Verdict
                                      Form (or Proposed Findings of Fact and Conclusions of Law
                                      in non-jury cases).

____________ ________                 Video Deposition Designation due. Each party who
(5 weeks before final pretrial conf.) proposes to offer a deposition by video shall serve on all
                                      other parties a disclosure identifying the line and page
                                      numbers to be offered. All other parties will have seven
                                      calendar days to serve a response with any objections and
                                      requesting cross examination line and page
                                      numbers to be included. Counsel must consult on any
                                      objections and only those which can not be resolved shall
                                      be presented to the court. The party who filed the initial
                                      Video Deposition Designation is responsible for
                                      preparation of the final edited video in accordance with all
                                      parties designations and the court’s rulings on objections.

______ ______________                 Motions in limine due
(30 days before final pretrial conf.) File Joint Final Pretrial Order (See www.txed.uscourts.gov).

_                              _            Response to motions in limine due2




2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the
matter. To save time and space respond only to items objected to. All others will be considered to be agreed.
Opposing counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar
days of the filing of any response. The parties shall notify the court of all the issues which are resolved.

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(2 weeks before final pretrial conf.) File objections to witnesses, deposition extracts, and
                                      exhibits, listed in pre-trial order.3 (This does not extend
                                      deadline to object to expert witnesses.)
                                       File Proposed Jury Instructions/Form of Verdict (or
                                      Proposed Findings of Fact and Conclusions of Law)

Date will be set by Court.                   If numerous objections are filed the court may set a
Usually within 10 days prior                 hearing to consider all pending motions and objections.
to final pretrial conf.

January 7, 2021                              Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                             United States Courthouse located at 101 East Pecan Street in
                                             Sherman, Texas. All cases on the Court’s Final Pretrial
                                             Conference docket for this day have been set at 9:00 a.m.
                                             However, prior to the Final Pretrial Conference date, the
                                             Court will set a specific time between 9:00 a.m. and 4:00
                                             p.m. for each case, depending on which cases remain on the
                                             Court’s docket.

to be determined                            10:00 a.m. Jury selection and trial (or bench trial) at the Paul
                                            Brown United States Courthouse located at 101 East Pecan
                                            Street in Sherman, Texas. Cases that remain for trial
                                            following the Court’s Pretrial docket will be tried between
                                            February 1, 2021, and February 26, 2021. A specific trial
                                            date in this time frame will be selected at the Final Pretrial
                                            Conference.




3
 Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

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